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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 ALEXANDRIA DIVISION

 KENNETH L PEREGO II ET AL                             CASE NO. 1:16cv0630

 VERSUS                                                CHIEF JUDGE DRELL

 ACADIA HEALTHCARE CO INC.                             MAGISTRATE JUDGE PEREZ-MONTES

                              SECOND AMENDED COMPLAINT

        Plaintiffs, KENNETH L. PEREGO, III, KENNETH L. PEREGO, II, appearing

 individually and as agent for KENNETH L. PEREGO, III, and WENDY PEREGO, respectfully

 desire to amend and supplement their original Petition for Damages (Doc. 1, Exhibit 1) and First

 Amended Complaint (Doc. 7) (collectively referred to herein as the “Complaint”) as follows:

                                                 A.

        Plaintiffs hereby amend and supplement the initial, unnumbered paragraph of the Petition

 for Damages, such that the entirety now reads as follows:

                        “NOW INTO COURT, through undersigned counsel, comes
                KENNETH L. PEREGO, III, KENNETH L. PEREGO, II,
                appearing individually and as agent for KENNETH L. PEREGO,
                III, and WENDY PEREGO (hereinafter also referred to as
                “Plaintiffs”), all residents of the full age of majority of Rapides
                Parish, Louisiana, who respectfully represent as follows:”

                                                 B.

        Plaintiffs re-allege and reiterate all of the allegations and prayers of their Complaint and

 adopt said allegations and prayers herein by reference thereto as though fully set forth herein.

                                                 C.

        In accordance with Rule 15(a)(2) of the Federal Rules of Civil Procedure, opposing party,

 Crossroads Regional Hospital, LLC of Louisiana d/b/a Longleaf Hospital, has provided written

 consent to this amendment. Accordingly, leave of court is not required.
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                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, KENNETH L. PEREGO, III, KENNETH L. PEREGO, II,

 appearing individually and as agent for KENNETH L. PEREGO, III, and WENDY PEREGO,

 pray:

    A. That service of this Second Amended Complaint be made upon defendant through counsel

         of record pursuant to Federal Rule of Civil Procedure 5;

    B. That after due proceedings had there be judgment herein in favor of Plaintiffs for all

         damages described, together with all costs and judicial interest; and

    C. For all just, general and equitable relief.

                                               Respectfully submitted,

                                               FAIRCLOTH, MELTON & SOBEL, LLC

                                               By:     /s/ Brook L. Villa
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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I presented the above and foregoing Second Amended
 Complaint for filing and uploading to the CM/ECF system which will send electronic notification
 of such filing to all counsel of record.
        Baton Rouge, Louisiana, this 9th day of March 2017.

                                            /s/ Brook L. Villa
                                            OF COUNSEL
